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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

CHICAGO REGIONAL COUNCIL OF                            )
CARPENTERS PENSION FUND, CHICAGO                       )
REGIONAL COUNCIL OF CARPENTERS                         )
WELFARE FUND, CHICAGO REGIONAL                         )
COUNCIL OF CARPENTERS SUPPLEMENTAL                     )
RETIREMENT FUND, the CHICAGO                           )
REGIONAL COUNCIL OF CARPENTERS                         )
APPRENTICE & TRAINNE PROGRAM FUND ,                    )
                                                       )
                                  Plaintiffs,          )
      vs.                                              )
                                                       )
MC INSTALL & DISMANTLE CORPORATION                     )
D/B/A MC EXHIBIT SERVICES and                          )
JG EXHIBIT SERVICES, INC.                              )
                                                       )
                                  Defendants.          )



                            AMENDED C O M P L A I N T

      Now come the Plaintiffs, the Chicago Regional Council of Carpenters Pension

Fund, et. al., by their attorney, Nicholas E. Kasmer of McGann, Ketterman, & Rioux,

complaining of the Defendants, MC INSTALL & DISMANTLE CORPORATION D/B/A

MC EXHIBIT SERVICES and JG EXHIBIT SERVICES, INC., and allege as follows:


      1.     This action arises under Section 502 of the Employee Retirement Income

Security Act and Section 301 of the Taft-Hartley Act. (29 U.S.C. §§1132 and 185).

Jurisdiction is founded on the existence of questions arising thereunder.
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       2.      The Chicago Regional Council of Carpenters Pension Fund, the Chicago

Regional Council of Carpenters Welfare Fund, Chicago Regional Council of Carpenters

Supplemental Retirement Funds, and the Chicago Regional Council of Carpenters

Apprentice Training Fund ("Trust Funds") receive contributions from numerous

employers pursuant to Collective Bargaining Agreements between the employers and

the Chicago Regional Council of Carpenters, ("Union"), and therefore, are

multiemployer plans. (29 U.S.C. §1002). The Trust Funds are administered at 12 East

Erie, Chicago, Illinois and venue is proper in the Northern District of Illinois.


       3.      MC INSTALL & DISMANTLE CORPORATION D/B/A MC EXHIBIT

SERVICES, is an employer engaged in an industry affecting commerce entered into a

Collective Bargaining Agreement whose terms require itself to pay fringe benefits to the

Trust Funds.


       4.      The Collective Bargaining Agreement also binds MC INSTALL &

DISMANTLE CORPORATION D/B/A MC EXHIBIT SERVICES, to the provisions of the

Agreement and Declarations of Trust that created the Trust Funds ("Trust

Agreements").


       5.      MC INSTALL & DISMANTLE CORPORATION D/B/A MC EXHIBIT

SERVICES, is required to make contributions to the Trust Funds for each hour worked

by its carpenter employees at the rate and in the manner specified in the Collective

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Bargaining Agreements and Trust Agreements. In addition, MC INSTALL &

DISMANTLE CORPORATION D/B/A MC EXHIBIT SERVICES, is required to make

contributions to the Trust Funds measured by the hours worked by subcontractors that

are not signatory to a Collective Bargaining Agreement with the Union.


      6.     Pursuant to the provisions of the Trust Agreements and the Collective

Bargaining Agreements, MC INSTALL & DISMANTLE CORPORATION D/B/A MC

EXHIBIT SERVICES, is required to provide access to the records necessary for the Trust

Funds to determine whether there has been compliance with the obligation to

contribute to the Trust Funds.


      7.     JG EXHIBIT SERVICES, INC., is an employer engaged in an industry

affecting commerce.


      8.     JG EXHIBIT SERVICES, INC., is related to MC INSTALL & DISMANTLE

CORPORATION D/B/A MC EXHIBIT SERVICES, and both perform carpentry

bargaining unit work.

      9.     JG EXHIBIT SERVICES, INC., and MC INSTALL & DISMANTLE

CORPORATION D/B/A MC EXHIBIT SERVICES, have (a) a common business purpose;

(b) common employees; (c) common labor supervision; and (d) common ownership.


      10.    JG EXHIBIT SERVICES, INC., is bound to the collective bargaining

agreement pursuant to its relationship with MC INSTALL & DISMANTLE

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CORPORATION D/B/A MC EXHIBIT SERVICES, under the alter ego and/or single/joint

employer theories.


       11.    JG EXHIBIT SERVICES, INC., and MC INSTALL & DISMANTLE

CORPORATION D/B/A MC EXHIBIT SERVICES, breached the provisions of the

collective bargaining agreement by failing to allow Plaintiffs to complete an audit of

Defendants’ books and records for the period January 1, 2016 through March 31, 2018.

       12.    Plaintiffs have been required to employ the undersigned attorneys to

compel the audit of the Defendants’ books and records.

       13.    The Defendants are obligated to pay the attorney and auditor fees and court

costs incurred by the Plaintiffs pursuant to the Collective Bargaining Agreements, the

Trust Agreements and/or 29 U.S.C. §1132(g)(2)(D).

       14.    According to the Collective Bargaining Agreement, the Trust Agreements

and/or 29 U.S.C. §1132(g), the Defendants are obligated to pay any fringe benefit

contributions shown to be due upon completion of the audit, as well as liquidated

damages, and interest.

       15.    Pursuant to 29 U.S.C. §1132(g)(2), Plaintiffs are entitled to an amount equal

to the greater of:

       (a)    double interest; or

       (b)    interest plus liquidated damages.




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WHEREFORE, Plaintiffs pray:

      A.     That the Defendants, be required to provide access to its records within ten

             (10) days for the period of January 1, 2016 through March 31, 2018, so that

             the audit can be completed.

      B.     That Defendants be ordered to pay all contributions shown to be due upon

             completion of the audit.

      C.     That Defendants be ordered to pay the attorney and auditor fees and costs

             incurred by the Plaintiffs.

      E.     That Defendants be ordered to pay liquidated damages and interest.

      F.     That Plaintiffs have such other and further relief as by the Court may be

             deemed just and equitable all at the Defendants cost.

                                           Respectfully Submitted,

                                           CHICAGO REGIONAL COUNCIL PENSION
                                           FUND et al.

                                                 s/Nicholas E. Kasmer
                                           By: ________________________
                                                 Nicholas E. Kasmer

Nicholas E. Kasmer
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